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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division
AMERICAN CHEMICAL SOCIETY,
Plaintiff,
v. No. l:l7-cv-726 (LMB/JFA)

JOI-IN DOES 1-99, et al.,

Defendants.

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For the reasons stated in open court, it is hereby

ORDERED that the Motion of the Computer and Communications Industry Association
for Leave to File a Brief as Amicus Curiae in Suppolt of Objections to Magistrate Judge’s
Proposed F indings of Fact and Recommendations [Dkt. No. 24] be and is DENIED.

The Clerk is directed to forward copies of this Order to counsel of record.

Entered this 3_Nlday of November, 2017.
Alexandria, Virginia

/s/ %)7@ .`

Leonie M. Brinkema
United States District Judge

 

